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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


JOHN SOLOMON,

                  Plaintiff,

     v.
                                         No. 23-cv-00759-RJL
MERRICK GARLAND, et al.,

                  Defendants.




          DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES
              IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       Plaintiff asks this Court to order the transfer of federal records from the Department of

Justice to the National Archives and Records Administration. Underlying the request is

Plaintiff’s apparent position that the prior Presidential administration should have interpreted the

Presidential Records Act differently, and should not have returned to DOJ the binder of

“materials related to the Federal Bureau of Investigation’s Crossfire Hurricane investigation.”

Mem., Declassification of Certain Materials Related to the FBI’s Crossfire Hurricane

Investigation, 86 FR 6843 (Jan. 19, 2021).1 In effect, the Complaint would have this Court

change the legal status of the records at issue, transforming them from federal records subject to

the Federal Records Act into Presidential records. No precedent or statute authorizes such relief.

       In Count I, Plaintiff attempts to use a replevin action, but not to secure the return of

property that Plaintiff owns, or that Plaintiff has an immediate (or any) right to possess. Instead,

Plaintiff urges replevin as a mechanism to transfer property that undisputedly belongs to the

United States from one Defendant agency to another. This request falls so far outside the bounds

of a cognizable replevin claim that Plaintiff’s Verified Complaint conclusively demonstrates that

Plaintiff cannot satisfy the requirements necessary to state such a claim under D.C. law. Plaintiff

fails to plead that he owns the subject property; fails to request that the property be returned to




       1
         The records at issue in this case are the subject of the January 20, 2021, Meadows
Memorandum, by which White House Chief of Staff Mark Meadows returned “the bulk of the
binder” to the Department of Justice with the instruction that the Department “expeditiously
conduct a Privacy Act review under the standards that the Department would normally apply,
redact material appropriately, and release the remaining material with redactions applied.” Email
from Gary Stern to John Solomon (Aug. 17, 2022), Compl., Ex. 2, ECF No. 1-2 at 1 (quoting
January 20, 2021, Meadows Memorandum); Email from Gary Stern to Kash Patel (July 14,
2022), Compl., Ex. 2, ECF No. 1-2 at 9 (quoting January 20, 2021, Meadows Memorandum).
As noted below, that review was overtaken by an ongoing FOIA request, which has resulted in
the posting of most of the binder in the FBI’s FOIA public reading room.
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him; and fails to attest that he is entitled to possession of the property. Rather, Plaintiff alleges

that a Defendant agency owns the property, that a Defendant agency is entitled to possession of

the property, and that the property should be transferred to the Defendant agency. These

allegations do not just fail to state a claim—they “contradict the claim asserted.” Browning v.

Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002).

       In Count II, Plaintiff, who alleges that former President Trump designated him as his

Presidential Records Act representative, asserts that he is entitled to a writ of mandamus

effecting the transfer of the subject records from the Department of Justice to the National

Archives. That claim depends on Plaintiff’s assertion that the materials at issue are Presidential

records, subject to the Presidential Records Act, “because they were received by President

Trump in conducting his official duties as President.” Compl. ¶ 24 (citing 44 U.S.C. § 2201(2)).

But the D.C. Circuit has repeatedly held that there is no jurisdiction to review third party

challenges to day-to-day White House recordkeeping decisions, such as the initial White House

determination—challenged by Plaintiff here—to treat the subject records as agency records.

Furthermore, even if there were jurisdiction to review such a challenge, the same provision of the

Presidential Records Act that defines “Presidential records” expressly “does not include any

documentary materials that are . . . official records of an agency,” 44 U.S.C. § 2201(2)(B)(i), and

the D.C. Circuit has recognized “the PRA exclusion of records subject to the FOIA from the

class of materials that may be treated as presidential records.” Armstrong v. Exec. Office of the

President (“Armstrong II”), 1 F.3d 1274, 1292 (D.C. Cir. 1993). Against this backdrop,




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Plaintiff’s claim seeking a writ of mandamus falls far short of the clear and indisputable right to

relief and clear duty to act necessary to establish mandamus jurisdiction.

       For all these reasons, this Court should dismiss the Complaint in its entirety.

                                 STATUTORY BACKGROUND

       Executive branch records are governed by either the Federal Records Act (“FRA”), 44

U.S.C. §§ 2101–2120, 2901–2911, 3101–3107, 3301–3314, or the Presidential Records Act of

1978 (“PRA”), as amended, 44 U.S.C. §§ 2201–2209. As the D.C. Circuit has explained, “[t]he

FRA and the PRA apply to distinct categories of documentary materials.” Armstrong II, 1 F.3d

at 1290. Specifically, the FRA governs records that are “made or received by a Federal agency

under Federal law or in connection with the transaction of public business and preserved or

appropriate for preservation by that agency or its legitimate successor as evidence of the

organization, functions, policies, decisions, procedures, operations, or other activities of the

United States Government or because of the informational value of data in them.” 44 U.S.C.

§ 3301(a)(1)(A).

       The PRA, in turn, applies to Presidential records—materials that are “created or received

by the President, the President’s immediate staff, or a unit or individual of the Executive Office

of the President whose function is to advise or assist the President, in the course of conducting

activities which relate to or have an effect upon the carrying out of the constitutional, statutory,

or other official or ceremonial duties of the President.” 44 U.S.C. § 2201(2). The PRA

expressly excludes from the definition of Presidential records any materials that qualify as




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“official records of an agency (as defined in [the Freedom of Information Act]).” 44 U.S.C.

§ 2201(2)(B).

       The two statutes create two separate records regimes—one, under the FRA, governing

federal records, and the other, under the PRA, governing Presidential records. The existence of

two separate records regimes is significant because the two regimes create distinct systems of

records management and access, reflecting constitutional separation of powers issues related to

the President’s authority to manage the records of his office during his term in office.

       I. The Federal Records Act

       The FRA sets out federal agencies’ “records creation, management, and disposal duties.”

Armstrong II, 1 F.3d at 1278. It is designed “to assure, among other things, ‘[a]ccurate and

complete documentation of the policies and transactions of the Federal Government,’ ‘[c]ontrol

of the quantity and quality of records produced by the Federal Government,’ and ‘[j]udicious

preservation and disposal of records.’” Id. (quoting 44 U.S.C. § 2902(1), (2), (5)). It defines the

term “records” to include information “made or received by a Federal Agency.” 44 U.S.C.

§ 3301(a)(1)(A) (emphasis added).

       Under the FRA, “[t]he head of each Federal agency shall make and preserve records

containing adequate and proper documentation of the organization, functions, policies, decisions,

procedures, and essential transactions of the agency and designed to furnish the information

necessary to protect the legal and financial rights of the Government and of persons directly

affected by the agency’s activities.” 44 U.S.C. § 3101. The statute further provides, among

other things, that agency heads must “establish safeguards against the removal or loss of records

the head of such agency determines to be necessary and required by regulations of the

Archivist.” Id. § 3105; see Armstrong II, 1 F.3d at 1278–79 (providing overview of FRA).



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Federal records “may not be alienated or destroyed except” as provided under the FRA, 44

U.S.C. § 3314, and “the FRA requires the agency to procure the approval of the Archivist [of the

United States] before disposing of any record.” Armstrong II, 1 F.3d at 1279 (describing

procedures).

       II. The Presidential Records Act

       The Presidential Records Act of 1978, 44 U.S.C. §§ 2201–2209 (the “PRA”), changed

the legal ownership of the official records of the President from private to public, and established

a new statutory structure under which Presidents, and subsequently NARA, manage the records

of their Administrations. “The United States shall reserve and retain complete ownership,

possession, and control of Presidential records. . . .” 44 U.S.C. § 2202.

       The D.C. Circuit has recognized that “the PRA accords the President virtually complete

control over his records during his term of office.” Armstrong I, 924 F.2d at 290; see CREW,

924 F.3d at 603–04 (“Although the PRA makes clear that the United States, ‘retain[s] complete

ownership, possession, and control of Presidential records,’ 44 U.S.C. § 2202, it also provides

that the President, during his term in office, shall assume ‘exclusive[] responsib[ility] for

custody, control, and access to such Presidential records.”). This control encompasses “creation”

decisions, as well as “management, and disposal decisions.” Armstrong I, 924 F.2d at 290. Thus,

the courts may not impose limits on “which records to maintain or destroy.” CREW v. Trump,

302 F. Supp. 3d 127, 137 (D.D.C. 2018), aff’d 924 F.3d 602 (D.C. Cir. 2019); cf. Armstrong II, 1

F.3d at 1294 (explaining that “‘[m]anagement decisions’ describes the day-to-day process by




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which presidential records are maintained,” and “‘disposal decisions’ describes the process

outlined in 44 U.S.C. § 2203(c)–(e) for disposing of presidential records”).

       Unlike the FRA, the PRA contemplates a limited role for the Archivist during a

President’s time in office, including in connection with the potential destruction of records.

During the President’s term in office, the President may dispose of records that he determines

“no longer have administrative, historical, informational, or evidentiary value,” provided that he

first obtains the written views of the Archivist of the United States. Id. § 2203(c). Although the

Archivist may then “inform Congress of the President’s desire to dispose of the records, neither

the Archivist nor the Congress has the authority to veto the President’s disposal decision.”

Armstrong I, 924 F.2d at 290. Nor may “the Archivist [or] an agency head . . . initiate any action

through the Attorney General to effect recovery or to ensure preservation of presidential

records.” Armstrong II, 1 F.3d at 1291 (noting that such actions are authorized for federal records

under the FRA, but not for Presidential records under the PRA). Ownership of the Trump

Presidential records at all times vests in the United States. Id. § 2202. Once a President leaves

office, the Archivist assumes “responsibility for the custody, control, and preservation of, and

access to, the Presidential records of the President.” Id. § 2203(g); see also id. § 2112(c).2

                                  FACTUAL BACKGROUND

       On January 19, 2021, then-President Trump issued a Memorandum concerning a binder

of materials related to the Federal Bureau of Investigation’s Crossfire Hurricane investigation.



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         The FOIA does not apply to Presidential records while the President is in office. See
Kissinger v. Reporters Committee for Freedom of the Press, 445 U.S. 136, 156 (1980) (FOIA
does not apply to the President and those White Office offices that advise and assist him).
Pursuant to the PRA, Presidential records become subject to public access under FOIA five years
following the President’s final term in office, see 44 U.S.C. § 2204(b)(2). Notwithstanding any
such restrictions on public access, however, the PRA enumerates certain exceptions, including


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These were federal records that the Department of Justice had provided to the White House at the

President’s request. Mem., Declassification of Certain Materials Related to the FBI’s Crossfire

Hurricane Investigation, 86 FR 6843 (Jan. 19, 2021). Therein, President Trump noted that he

had “requested the documents so that a declassification review could be performed,” id., and

that— with the exception of the portions that the Federal Bureau of Investigation in consultation

with the Intelligence Community had determined “most crucial” to protect—he was ordering

declassification of the materials in the binder. Id. He clarified, however, that the decision to

disclose materials in the binder “[did] not extend to materials that must be protected from

disclosure pursuant to orders of the Foreign Intelligence Surveillance Court and [did] not require

the disclosure of certain personally identifiable information or any other materials that must be

protected from disclosure under applicable law.” Id.

       The next day, then-Chief of Staff Mark Meadows returned the “bulk of the binder” to the

Department of Justice with instructions that the Department conduct a Privacy Act review and

then release the remaining material with redactions applied. See Compl., ECF No. 1-2 at 1; see

also Compl., ECF No. 1, ¶ 7. Since then, NARA received and maintains as Presidential records

“roughly 2700 undifferentiated pages” that appear to be multiple copies of the documents from

the binder at various stages of declassification review. Compl. ¶¶ 27, 28. The records in the

binder that then-Chief of Staff Meadows transferred back to DOJ—consistent with “routine

practice for agency records that are undergoing declassification or similar review by other

agencies or the White House,” Compl., ECF No. 1-2 at 1—have properly remained with the

Department of Justice as agency records subject to the Federal Records Act. Indeed, at the time




that Presidential records “shall be available to such former President or the former President’s
designated representative.” Id. § 2205(3).
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of the correspondence attached to the Complaint, these records were already “the subject of a

[Freedom of Information Act (FOIA)] lawsuit with DOJ,” Compl., Ex. 2 at 1, and most of the

materials have now been released in redacted form on the Federal Bureau of Investigation’s

FOIA reading room: https://vault.fbi.gov/crossfire-hurricane-part-01.3

                                   STANDARD OF REVIEW

       Defendants move for dismissal of both counts of the Complaint pursuant to Fed. R. Civ.

P. 12(b)(6), on the ground that Plaintiff has failed to state a claim upon which relief can be

granted. A Rule 12(b)(6) challenge “tests the legal sufficiency of a complaint.” Browning, 292

F.3d at 242. In evaluating such a claim, the court must “treat the complaint’s factual allegations

as true,” Khodorkovskaya v. Gay, 5 F.4th 80 (D.C. Cir. 2021), but need not “accept as true a

legal conclusion couched as a factual allegation,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), or

“accept inferences that are unsupported by the facts set out in the complaint,” Islamic Am. Relief

Agency v. Gonzales, 477 F.3d 728, 732 (D.C. Cir. 2007). “While legal conclusions can provide

the framework of a complaint, they must be supported by factual allegations.” Iqbal, 556 U.S. at

679. The plaintiff’s allegations must be sufficiently detailed “to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555. Furthermore, “dismissal is appropriate where the

allegations contradict the claim asserted.” Browning, 292 F.3d at 242.

       Defendants also move for dismissal of Count II under Fed. R. Civ. P. 12(b)(1) for lack of

subject matter jurisdiction. In reviewing a motion to dismiss under Rule 12(b)(1), a court is

guided by the principle that “[f]ederal courts are courts of limited jurisdiction.” Kokkonen v.

Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). Thus, a federal court must presume that it



       3
         See Covad Commc’ns Co. v. Bell Atl. Corp., 407 F.3d 1220, 1222 (D.C. Cir.
2005) (noting that on a motion to dismiss, a court may take judicial notice of facts on the public
record).
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“lack[s] jurisdiction unless the contrary appears affirmatively from the record.” DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006). The burden of demonstrating the contrary rests

upon the party asserting jurisdiction. Id. When considering jurisdiction based on the face of a

plaintiff’s complaint, a court must accept “well-pleaded factual allegations as true and draw all

reasonable inferences from those allegations in the plaintiff’s favor.” Arpaio v. Obama, 797 F.3d

11, 19 (D.C. Cir. 2015). However, as on a motion under Rule 12(b)(6), the court need not accept

legal conclusions stated as factual allegations,” see Iqbal, 556 U.S. at 678, or accept inferences

that are unsupported by the facts pled. See Gonzales, 477 F.3d at 732.

        “In deciding a motion to dismiss, a court may . . . consider documents ‘attached to or

incorporated in the complaint.’” He Depu v. Yahoo! Inc., 950 F.3d 897, 901 (D.C. Cir. 2020)

(quoting EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624 (D.C. Cir. 1997). A

court may also consider facts of which it can take judicial notice. See Covad Commc’ns Co., 407

F.3d at 1222.

                                            ARGUMENT

I.      Plaintiff Fails to State a Claim for Replevin.

        Replevin “is, in general, an action in which the owner, or a person who has a general or

special interest in some personalty either taken or detained by another, seeks to recover

possession.” United States v. Navarro, --- F. Supp.3d ---, 2023 WL 2424625, at *10 (D.D.C.

Mar. 9, 2023) (quoting Replevin, 7 American Law of Torts § 24:17 (West 2022)). In other

words, a replevin action is a demand that the Court order the return of one’s own property, or

property that one has an immediate right to possess. 66 Am. Jur. 2d Replevin § 13 (“In order to

maintain a replevin action, the plaintiff must, at the time of the institution of the suit, be entitled

to the immediate possession of the property claimed”). And for this reason, Plaintiff’s Count I

fails. The property at issue is not Plaintiff’s, and he does not—and, indeed, cannot—seek
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immediate possession of it; instead, he seeks the transfer of property from one Defendant to

another. The cause of action he invokes does not extend so far.

       D.C. Code 16-3701 and subsequent sections set forth the replevin cause of action under

D.C. law.4 The pleading requirements are specifically delineated and “strict[ly]” enforced. See

BMO Harris Bank N.A. v. Dist. Logistics, LLC, 2021 WL 7448012, at *4 (D.D.C. July 23, 2021),

report and recommendation adopted, 2021 WL 7448010 (D.D.C. Dec. 22, 2021); see also

Deegan v. Strategic Azimuth LLC, 768 F. Supp. 2d 107, 117 (D.D.C. 2011) (“the D.C. Code is

very particular about how any complaint in replevin must be phrased”). The D.C. Code requires

that “[a] complaint in replevin shall be in the following or equivalent form:”

       “The plaintiff sues the defendant for (wrongly taking and detaining) (unjustly
       detaining) the plaintiff’s goods and chattels, to wit: (describe them) of the value of
       ___ dollars. And the plaintiff claims that the same be taken from the defendant and
       delivered to him; or, if they are eloigned, that he may have judgment of their value
       and all mesne profits and damages, which he estimates at ___ dollars, besides
       costs.”

D.C. Code 16-3702 (emphasis added). Additionally, a plaintiff must submit either an affidavit or

a verified complaint averring, inter alia, that “according to [affiant’s or plaintiff’s] information

and belief, the plaintiff is entitled to recover possession of chattels proposed to be replevied.”

D.C. Code 16-3703; see also BMO Harris Bank, 2021 WL 7448012, at *4. The latter provision




       4
          The Complaint does not specify whether Plaintiff intends a replevin claim under federal
common law or under the D.C. statute. As another Judge of this Court recently noted when
addressing a replevin claim under the D.C. Code rather than the common law, “a federal court
generally should not fashion federal common law where state law will do.” United States v.
Navarro, 2023 WL 2663014, at *3 (D.D.C. Mar. 28, 2023). If Plaintiff’s claim were evaluated
under the common law, his claim would fare no better since “the gist of an action of replevin is
the right of possession of property in the plaintiff.” 66 Am. Jur. 2d Replevin § 1. As discussed
herein, Plaintiff asserts not a right of possession in himself, but to transfer property belonging to
the United States among the Defendants. Plaintiff therefore lacks the most rudimentary element
of a replevin claim whether under statute or common law.


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“lists express statements that should be attested to verbatim.” BMO Harris Bank, 2021 WL

7448012, at *4 n.2 (emphasis the Court’s).

       Thus, in BMO Harris Bank, the Court held that the plaintiff had failed to state a cause of

action for replevin where the complaint “fail[ed] to adhere to the D.C. Code’s strict requirements

for pleading replevin, in three respects.” BMO Harris Bank, 2021 WL 7448012, at *4. Among

the deficiencies the Court noted were that the plaintiff had failed to allege that the property at

issue (equipment, in that case) should be delivered to plaintiff, and that plaintiff had failed to

provide the attestation required under D.C. Code 16-3703. See id. The Court so held

notwithstanding that the plaintiff in that case described the property at issue and alleged that the

defendant was denying the plaintiff access to that property. See id.

       Here, too, Plaintiff’s replevin claim is plainly deficient when measured against the

statutory requirements, in at least three respects. First, D.C. Code 16-3702 requires that a

complaint plead (or contain an averment “equivalent” to) an assertion that the subject property

comprises the “the plaintiff’s goods and chattels.” D.C. Code 16-3702 (emphasis added). Not

only does Plaintiff fail to so allege, but Plaintiff actually asserts that one of the Defendants owns

the subject property. See Compl. ¶ 37 (“The Presidential records at issue in this case are the

property of the National Archives.”).5 Indeed, the statute leaves no room for any other

conclusion. 22 U.S.C. § 2202 (“The United States shall reserve and retain complete ownership .




       5
          As discussed above, the materials in question are Federal records, and Plaintiff errs in
characterizing those materials as Presidential records belonging to the National Archives. See
supra. However, whether they are Federal records or Presidential records, it is undisputed that
the records at issue belong to the United States rather than to Plaintiff. Taken as true for
purposes of evaluating a motion to dismiss, the Plaintiff’s allegation regarding ownership is fatal
to his claim.


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. . of Presidential records. . .”). And nothing about the Plaintiff’s designation as a representative

of the former President creates an ownership right. See id. § 2205(3).

       Second, the same provision requires a plaintiff to claim the subject property “be taken

from the defendant and delivered to him.” D.C. Code 16-3702. Here too, Plaintiff not only

omits the required language, or its “equivalent”—he asks that the Court order one Defendant to

deliver the subject property to a different party, viz. a co-Defendant. See Compl., Prayer for

Relief (ii) (seeking “to ensure the immediate return of the Presidential records to the National

Archives”). Third, D.C. Code 16-3703 requires Plaintiff to attest either in the verified complaint

or a separate affidavit that “the plaintiff is entitled to recover possession of chattels proposed to

be replevied.” Here, too, the Complaint not only misses the mark, but works against Plaintiff,

alleging as it does that one of the Defendants “has the duty to assume responsibility for the

custody, control, and preservation of, and access to, these records.” Id. ¶ 38. Each of these

deficiencies, standing alone, would be sufficient to warrant dismissal.

       It is of no moment that Plaintiff asserts he would have a right of access to the records if

they were held by the Defendant agency to which he seeks to have them transferred. See Compl.

¶¶ 3, 9, Prayer for Relief (ii). Such a right to access property—when divorced from the right to

possess that property—cannot support a replevin action. See 66 Am. Jur. 2d Replevin § 13

(“Unless the plaintiff shows a right to immediate possession, the defendant . . . will not be

compelled to deliver the property . . . where replevin is brought [even] one day before the

plaintiff has the right to possession of the property, the action must fail”). The right to (and

demand for) immediate possession is an indispensable element of the claim. See D.C. Code 16-




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3702, 16-3703. In its absence, especially in light of the D.C. Code’s “strict” pleading

requirements, see supra, Plaintiff cannot state a claim for replevin.6

       II. Plaintiff Fails to Establish the Elements Necessary for Mandamus Jurisdiction.

       Count II seeks mandamus relief that would compel Defendants “to immediately return

the subject Presidential records to the National Archives and the National Archives to

immediately provide the Plaintiff unrestricted access to them.” Compl., Prayer for Relief (iii).

Mandamus jurisdiction “is strictly confined. . . mandamus is ‘drastic’; it is available only in

‘extraordinary situations’; it is hardly ever granted; those invoking the court’s mandamus

jurisdiction must have a ‘clear and indisputable’ right to relief.’” In re Cheney, 406 F.3d 723,

729 (D.C. Cir. 2005) (en banc); Citizens for Resp. & Ethics in Washington v. Trump (“CREW”),

924 F.3d 602, 606 (D.C. Cir. 2019) (“[T]he remedy of mandamus is a drastic one, to be invoked

only in extraordinary situations.”).

       In order to establish a court’s jurisdiction over such a claim, a plaintiff seeking

mandamus relief must show (1) “a ‘clear and indisputable right to relief,’” (2) “that the defendant

has a “‘clear duty to act,’” and (3) “that ‘no adequate alternative remedy exists.’” Id. (quoting

Am. Hosp. Ass’n v. Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016)); see also Lovitsky v. Trump,

949 F.3d 753, 759 (D.C. Cir. 2020). “These three threshold requirements are jurisdictional;

unless all are met, a court must dismiss the case for lack of jurisdiction.” CREW, 924 F.3d at

606. And, even when these requirements are met, “a court may grant relief only when it finds




       6
          Although the Court in BMO Harris Bank, discussed above, dismissed without prejudice
and permitted the plaintiff in that case leave to submit an amended complaint addressing the
deficiencies in its pleadings, see 2021 WL 7448012, at *4, in that case, the necessary elements
were simply absent. Here, by contrast, amendment would be futile, since Plaintiff has submitted
a verified complaint effectively attesting that he cannot fulfill three elements required for a
replevin claim under D.C. law.
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compelling equitable grounds.” Lovitsky, 949 F.3d at 759. As discussed below, Plaintiff fails to

establish either the first or the second requirement.

       A.      Plaintiff Cannot Establish a Clear Right to Relief.

       In assessing whether Plaintiff is entitled to mandamus, the first question is whether

Plaintiff has a “clear and indisputable” right to relief. In re Cheney, 406 F.3d at 729. “[T]he

party seeking mandamus has the burden of showing that its right to issuance of the writ is clear

and indisputable.” Lovitsky, 949 F.3d at 759–60 (quoting Power v. Barnhart, 292 F.3d 781, 784

(D.C. Cir. 2002)) (internal quotation omitted). Here, Plaintiff cannot make such a showing.

       Plaintiff’s fundamental grievance appears to be that the White House failed to retain the

original records at issue, which they contend became Presidential records “because they were

received by President Trump in conducting his official duties as President,” Compl., ¶ 24 (44

U.S.C. § 2201(2)), and then-Chief of Staff Meadows—in Plaintiff’s view—mistakenly treated

them as agency records when he returned them to the Department of Justice.

       However, the D.C. Circuit has been clear that, when private parties sue under the

Presidential Records Act, “courts have no jurisdiction to review the President's ‘day-to-day

operations.’” CREW, 924 F.3d at 609. As the Court explained: Congress was “keenly aware of

the separation of powers concerns that were implicated by legislation regulating the conduct of

the President’s daily operations,” and “therefore sought assiduously to minimize outside

interference with the day-to-day operations of the President and his closest advisors and to

ensure executive branch control over presidential records during the President’s term in office.”

Armstrong I, 924 F.2d at 290.7 Plaintiff’s request that the Court effectively intercede and reverse


       7
        The Court carved out a narrow exception to that rule in Armstrong II, allowing the
review of “guidelines outlining what is, and what is not, a “presidential record” to ensure that
materials that are not subject to the PRA [i.e., agency records] are not treated as presidential


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the then-Chief of Staff’s decision would amount to the very kind of interference in day-to-day

operations that is barred under the PRA.

       Additionally, the PRA, in the very provision that defines “Presidential records,” excludes

from that definition “any documentary materials that are . . . official records of an agency,” 44

U.S.C. § 2201(2)(B)(i), and the D.C. Circuit has recognized “the PRA exclusion of records

subject to the FOIA from the class of materials that may be treated as presidential records.”

Armstrong II, 1 F.3d at 1292. As reflected in the Complaint and attachments, and discussed

above, the records at issue here have indeed been treated as agency records, subject to the FOIA,

since then-Chief of Staff Meadows returned them to the Department of Justice on January 20,

2021. See supra 7–8. And, as NARA’s General Counsel explained to Plaintiff, the process

followed with respect to these materials was consistent with “routine practice for agency records

that are undergoing declassification or similar review by other agencies or the White House.”

Compl., ECF No. 1-2 at 1. Thus, even if there were jurisdiction to review the prior

administration’s treatment of these records, Plaintiff would not be entitled to relief.

       In sum, Plaintiff’s Complaint does not support any right to relief, much less the clear and

indisputable right needed to support mandamus jurisdiction. See, e.g., CREW, 924 F.3d at 608




records.” Armstrong II, 1 F.3d at 1294. That exception was motivated by a concern that agency
records subject to FOIA would be inappropriately shielded from disclosure if incorrectly treated
as Presidential records under the PRA. See id. at 1293–94. That exception has no application
here. Indeed, the exemption addresses the opposite circumstance to the situation alleged in the
Complaint, in which Plaintiff alleges that documents were treated as agency records when
Plaintiff contends they should have been viewed as Presidential records.
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(affirming rejection of mandamus claim where challenged policy was “facially PRA-

compliant”).

       B.      Plaintiff Cannot Establish a Clear Duty to Act.

       Because Plaintiff cannot establish a clear right to relief, the Court “may ‘begin and end

with the first’ of the three mandamus requirements,” and may dismiss Count II without

addressing the other two requirements. CREW, 924 F.3d at 609. Plaintiff, however, also fails to

establish the second prong of mandamus jurisdiction—that Defendants are violating a clear duty

to act. See Am. Hosp. Ass’n, 812 F.3d at 189. In the context of mandamus, the duty to be

performed must be “ministerial and the obligation to act peremptory, and clearly defined.” 13th

Reg’l Corp. v. U.S. Dep’t of Interior, 654 F.2d 758, 760 (D.C. Cir. 1980) (quoting United States

ex rel. McLennan v. Wilbur, 283 U.S. 414, 420 (1931)). A ministerial duty “is one that admits of

no discretion, so that the official in question has no authority to determine whether to perform

the duty.” Swan v. Clinton, 100 F.3d 973, 977 (D.C. Cir. 1996).

       Plaintiff relies on the notion that the PRA imposes a “mandatory” duty on Defendants to

make available Presidential records to which Plaintiff requests access as former President

Trump’s PRA representative. See, e.g., Compl. ¶ 9. But that assertion begs the question;

Plaintiff’s underlying premise is that the records at issue are Presidential records subject to the

PRA in the first instance. For the reasons discussed above, they are not, and Plaintiff has no

right under the PRA to challenge the former administration’s treatment of the records.

Defendants, moreover, have correctly treated these records as agency records subject to the

FOIA, and the FBI continues to process them for public release pursuant to FOIA. There is no

duty, ministerial or otherwise, to make such records available to Plaintiff under the PRA. To the

extent Plaintiff’s challenge is meant to include the former President’s duty to properly categorize



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records as agency records subject to the FRA or Presidential records subject to the PRA, even

were such relief available (and it is not), “[t]his duty necessarily involves the application of

judgment,” CREW, 438 F. Supp. 3d at 68, and lies well beyond the ministerial obligations that

can support mandamus jurisdiction.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss the Complaint in its entirety, with

prejudice.



Dated: June 6, 2023                            Respectfully submitted,

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